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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                        Case No.25-cv-00951-PCP
                Plaintiff,

          v.

  HEWLETT PACKARD ENTERPRISE
  CO., et al.,
                Defendants.


                      NOTICE REGARDING VIDEO RECORDING

       A request has been made to video record the July 9, 2025 Bench Trial in this case

pursuant to General Order 65, Cameras in the Courtroom Pilot Project.


( )    All parties have consented to the video recording of the proceeding; unless otherwise

       ordered by the presiding judge, the proceeding will be video recorded as part of the Pilot

       Project. See cand.uscourts.gov/cameras for more information.



(X)    At least one party has opposed the request to video record and/or the Court has denied the

       request; the proceeding will not be video recorded.



Dated: 6/12/2025                                    Mark B. Busby, Clerk of Court



                                                    Signature of Clerk or Deputy Clerk
